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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                   Case No. 1:20-cr-00183-RJJ

                                               Hon. Robert J. Jonker
                                               Chief United States District Judge
v.




BARRY GORDON CROFT, JR.,
                        Defendant.
________________________________________________________________________/


                              MOTION FOR JOINDER

         Barry Gordon Croft, Jr., through his attorney Joshua Blanchard, moves to

join in the following:

            1. Mr. Harris’ brief regarding “invited response” as outlined in ECF No.

               497, PageID.3828-3832.

            2. Mr. Fox’s motion in limine to compel production of confidential human

               source information outlined in ECF No. 493, PageID.3801-3808.

                                        Respectfully Submitted,

Dated: February 28, 2022                /s/ Joshua A. Blanchard
                                        Joshua Blanchard
                                        BLANCHARD LAW
                                        Attorneys for Defendant Croft
                                        309 S. Lafayette St., Ste. 208
                                        Greenville, MI 48838
                                        616-773-2945
                                        josh@blanchard.law



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